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                                                    SENIOR DISTRICT JUDGE ROBERT J. BRYAN
9                                                    MAGISTRATE JUDGE DAVID W. CHRISTEL
10                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
11
                                      AT TACOMA
12
     BERNARDINO GINO SANDOVAL,                              NO. 3:17-cv-05667-RJB-DWC
13
                                       Plaintiff,           DEFENDANTS’ RESPONSE TO
14                                                          MOTION FOR PRELIMINARY
        v.                                                  INJUNCTION
15

16   MIKE R OBENLAND, et al.,

17                                   Defendants.
18           The Defendants respectfully file their response to Sandoval’s Motion for Preliminary

19   Injunction. ECF No. 36.

20                                    I.       INTRODUCTION

21           Sandoval alleges the Defendants have violated his constitutional right to marry former

22   fellow inmate Alan French because the Department’s previous marriage policy required that the

23   prospective spouse be on the inmate’s approved visitor list. Since Sandoval’s release from

24   Department custody on July 14, 2017, neither he nor French made any attempt to submit a

25   marriage application under the revised policy. A policy which did not prevent their ability to

26   marry. Sandoval is now in the King County jail because he has since been arrested and charged


     DEFENDANTS’ RESPONSE TO MOTION                     1             ATTORNEY GENERAL OF WASHINGTON
                                                                               Corrections Division
     FOR PRELIMINARY INJUNCTION                                         1116 West Riverside Avenue, Suite 100
     No. 3:17-cv-05667-RJB-DWC                                               Spokane, WA 99201-1106
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1    with Assault in the First Degree-Domestic Violence against a roommate with whom he was
2    engaged in a “romantic” relationship. ECF No. 30-1.
3           Sandoval now files a motion for a preliminary injunction asking the Court order the
4    Defendants to “cease and desist the continuation of discrimination of same sex marriage in the
5    Washington State Department of Corrections.” ECF No. 36 at 1. Because Sandoval cannot meet
6    the heavy burden required of a Preliminary Injunction, the Court should deny his frivolous
7    motion.
8                                          II.     RESPONSE
9    A.     Preliminary Injunction Standard
10         Injunctions are “to be used sparingly, and only in a clear and plain case.” Rizzo v. Goode,
11   423 U.S. 362, 378 (1976) (quoting Irwin v. Dixon, 9 How. 10, 33 (1850)); see also Sampson v.
12   Murray, 415 U.S. 61, 83 (1974). “A preliminary injunction is an extraordinary remedy never
13   awarded as of right.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). Instead,
14   injunctive relief “may only be awarded upon a clear showing that the plaintiff is entitled to such
15   relief.” Id. at 22. The party seeking injunctive relief must also “demonstrate that irreparable
16   injury is likely in the absence of an injunction.” Id. (emphasis in original). The Supreme Court
17   has clarified that to obtain preliminary injunctive relief, the party must show:
18          A plaintiff seeking a preliminary injunction must establish that he is likely to
            succeed on the merits, that he is likely to suffer irreparable harm in the absence
19          of preliminary relief, that the balance of equities tip in his favor, and that an
20          injunction is in the public interest.

21   Winter, 555 U.S. at 20.

22          Injunctions are disfavored and “not granted unless extreme or very serious damage will

23   result and are not issued in doubtful cases or where the injury complained of is capable of

24   compensation in damages.” Anderson v. United States, 612 F.2d 1112, 1115 (9th Cir. 1979)

25   (quoting Clune v. Publishers’ Ass’n of New York City, 214 F. Supp. 520, 531 (S.D.N.Y. 1963)).

26   This caution applies even more strongly in cases involving the administration of state prisons.


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1    Turner v. Safley, 482 U.S. 78, 85 (1987) (“Prison administration is, moreover, a task that has
2    been committed to the responsibility of those [executive and legislative] branches and separation
3    of powers concerns counsels a policy of judicial restraint. Where a state penal system is involved,
4    federal courts have … additional reason to accord deference to the appropriate prison
5    authorities.”); Gilmore v. California, 220 F.3d 987 (9th Cir. 2000).
6    B.     Sandoval Fails to Meet His Heavy Burden Showing that an Injunction is Warranted
7           First, Sandoval is unlikely to succeed on his right to marry claim. He makes a conclusory
8    argument that the marriage policy prevents same sex marriages but provides no actual evidence
9    to support his allegations. There is nothing in policy that prohibits same sex marriage. Moreover,
10   there is nothing in the current policy which prevented Sandoval from fulfilling his wish of
11   marrying inmate Alan French. Sandoval was released from Department custody on July 14,
12   2017. Declaration of Patty Willoughby in Support of Defendants’ Response to Plaintiff’s Motion
13   for a Preliminary Injunction. Throughout his pleadings, Sandoval provides no evidence that he
14   or French made any attempt to marry during the eight months before Sandoval was arrested.
15   Sandoval presents no evidence to show he obtained a marriage license or made any other
16   affirmative step to actually marry French. Sandoval also fails to point to any actual wording in
17   the current policy which prohibits or would have prohibited his ability to marry French since his
18   release.
19          Additionally, while Sandoval has a fundamental right to marriage, that right is “subject
20   to substantial restrictions as a result of incarceration.” Turner, 482 U.S. at 95. “No doubt security
21   concerns may justify requiring the approval of the Superintendent.” Id. at 98. Penological
22   interests in ensuring compliance with the Prison Rape Elimination Act and having to move and
23   separate inmates involved in romantic relationships are rationally related concerns. Accordingly,
24   Sandoval is not likely to succeed on the merits of his claims and the Court should deny his
25   motion.
26   ///


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1           Secondly, Sandoval is unlikely to suffer irreparable harm if a preliminary injunction is
2    not granted. Other than his self-imposed stay in jail, Sandoval provides no evidence to show he
3    is unable to marry French under the current policy and he failed to make any attempt to move
4    forward with a marriage during the eight months he had the opportunity.
5           Third, the balance of equities does not tip in Sandoval’s favor as requiring the
6    Department facilitate marriages between two incarcerated inmates would be a clear drain on
7    Department resources. Finally, permitting incarcerated inmates to marry regardless of legitimate
8    penological concerns is not in the public’s interest. The public has no interest in using additional
9    state resources to separate married inmates. Accordingly, Sandoval’s request for injunctive relief
10   should be denied.
11                                        III.    CONCLUSION
12          Sandoval has failed to meet his heavy burden for a preliminary injunction; therefore, his
13   request should be denied.
14          RESPECTFULLY SUBMITTED this 30th day of May, 2018.
15                                                  ROBERT W. FERGUSON
                                                    Attorney General
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18                                                  s/ Candie M. Dibble
                                                    CANDIE M. DIBBLE, WSBA #42279
19                                                  Assistant Attorney General
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1                                     CERTIFICATE OF SERVICE
2           I hereby certify that I caused the foregoing Defendants’ Response to Motion for
3    Preliminary Injunction to be electronically filed with the Clerk of the Court using the CM/ECF
4    system, and I certify that I mailed by United States Postal Service the document to the following
5    non CM/ECF participants:
6           BERNADINO G. SANDOVAL BA #218007343
            MALENG REGIONAL JUSTICE CENTER
7
            DEPT. OF ADULT DETENTION
8           620 WEST JAMES STREET
            KENT, WA 98032
9
            I declare under penalty of perjury under the laws of the United States of America that the
10
     foregoing is true and correct.
11
            DATED this 30th day of May, 2018, at Spokane, Washington.
12

13                                                s/ Patty Willoughby
                                                  PATTY WILLOUGHBY
14                                                Legal Assistant III
                                                  Corrections Division
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                                                  1116 West Riverside Avenue, Suite 100
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